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AO 245B(Rev. 10/17) Judgment in a Criminal Case
Sheet |

 

 

UNITED STATES DISTRICT COURT

Southern District of Mississippi

 

 

 

 

 

BY
)
UNITED STATES OF AMERICA )
y JUDGMENT IN A CRIMINAL CASE
SHAWNTAE MAURICE FAIRLEY Case Number: 1:16cr98LG-JCG-008
) USM Number: 20294-043
)
) Ramiro Orozco
) Defendant’s Attorney
THE DEFENDANT:
MW] pleaded guilty to count(s) Count 13 of the Indictment
[1] pleaded nolo contendere to count(s) _
which was accepted by the court.
( was found guilty on count(s) — ee
CJ after a plea of not guilty,
The defendant is adjudicated guilty of these offenses:
Title & Section Nature of Offense Offense Ended Count
21 U.S.C. § 841(a)(1) Possession With Intent to Distribute a Controlled Substance 08/19/2015 13
The defendant is sentenced as provided in pages 2 through 2 | of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
L] The defendant has been found not guilty on count(s)
M1 Count(s) 1 and 14 LC) is 7] are dismissed on the motion of the United States.

 

__ Itis ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defendant must notify the court and United States attorney of material changes in economic circumstances.

 

 

 

The Honorable Louis Guirola Jr., U.S. District Judge

Name and Title of Judge
Date

 

  

 
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AO 245B(Rev, 10/17) Judgment in a Criminal Case

Sheet 2 — Imprisonment

 

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DEFENDANT: SHAWNTAE MAURICE FAIRLEY

CASE NUMBER: |:16cr98LG-JCG-008

IMPRISONMENT

The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total term of:

three hundred-sixty (360) months as to Count 13 of the Indictment.

The court makes the following recommendations to the Bureau of Prisons:

The Court recommends that the defendant be housed in a facility closest to his home for purposes of visitation. The Court further
recommends that the defendant be allowed to participate in the Bureau of Prisons’ 500 hour substance abuse treatment program if deemed

eligible.
lM] The defendant is remanded to the custody of the United States Marshal.

[] The defendant shall surrender to the United States Marshal for this district:

LK at Oam O pm. on

 

1 as notified by the United States Marshal.

(] The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

(1 before

 

[] as notified by the United States Marshal.

C1 as notified by the Probation or Pretrial Services Office.

 

 

 

 

oO
RETURN
I have executed this judgment as follows:
Defendant delivered on _ to _
a _ __, witha certified copy of this judgment.
UNITED STATES MARSHAL
By

 

DEPUTY UNITED STATES MARSHAL
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AG 245B(Rev. 10/17) Judgment in a Criminal Case
Sheet 3 — Supervised Release
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DEFENDANT: SHAWNTAE MAURICE FAIRLEY
CASE NUMBER: | 1:16cr98LG-JCG-008

SUPERVISED RELEASE

Upon release from imprisonment, you will be on supervised release for a term of :

five (5) years as to Count 13 of the Indictment.

MANDATORY CONDITIONS

You must not commit another federal, state or local crime.
You must not unlawfully possess a controlled substance.

2 be

You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release from
imprisonment and at least two periodic drug tests thereafter, as determined by the court.

[] The above drug testing condition is suspended, based on the court's determination that you
pose a low risk of future substance abuse. (check if applicable)
4, C1] You must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing a sentence of
restitution. (check if applicable)
MM You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
O

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You must comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et seq.) as
directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location where you
reside, work, are a student, or were convicted of a qualifying offense. (check if applicable)

7. () You must participate in an approved program for domestic violence. (check if applicable)

You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached
page.
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AO 245B(Rev. 10/17) Judgment in a Criminal Case

Sheet 3A — Supervised Release

 

 

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DEFENDANT: | SHAWNTAE MAURICE FAIRLEY
CASE NUMBER: | -16cr98LG-JCG-008

STANDARD CONDITIONS OF SUPERVISION

As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are imposed
because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation
officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

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You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different time
frame.

After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
when you must report to the probation officer, and you must report to the probation officer as instructed.

You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from the
court or the probation officer. :

You must answer truthfully the questions asked by your probation officer,

You must live at a place approved by the probation officer. [f you plan to change where you live or anything about your living
arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If notifying
the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
hours of becoming aware of a change or expected change.

You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer to
take any items prohibited by the conditions of your supervision that he or she observes in plain view.

You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation officer at least 10
days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of
becoming aware of a change or expected change.

You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission of the
probation officer.

If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.

You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that was
designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or tasers).
You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without
first getting the permission of the court.

If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may
require you to notify the person about the risk and you must comply with that instruction. The probation officer may contact the
person and confirm that you have notified the person about the risk.

You must follow the instructions of the probation officer related to the conditions of supervision.

U.S. Probation Office Use Only

AUSS. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
Judgment containing these conditions. For further information regarding these conditions, see Overview of Probation and Supervised
Release Conditions, available at: www.uscourts.gov.

Defendant's Signature _ Date

 
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AO 245B(Rev. 10/17) Judgment in a Criminal Case

Sheet 3D — Supervised Release

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DEFENDANT: = SHAWNTAE MAURICE FAIRLEY
CASE NUMBER: |.16cr98LG-JCG-008

SPECIAL CONDITIONS OF SUPERVISION

|. The defendant shall provide the probation office with access to any requested financial information.

No

. The defendant shall not incur new credit charges or open additional lines of credit without the approval of the probation office, and
unless the defendant is in compliance with the installment payment schedule.

. The defendant shall participate in a program of testing and/or treatment for alcohol/drug abuse, as directed by the probation office.
The defendant shall contribute to the cost of treatment in accordance with the probation office Copayment Policy.

too

4. The defendant shall abstain from consuming alcoholic beverages for the duration of the term of supervised release.

5. In the event that the defendant resides in, or visits, a jurisdiction where marijuana has been approved or legalized, the defendant
shall not possess, ingest, or otherwise use marijuana or marijuana products, unless prescribed by a licensed medical practitioner and
for a legitimate medical purpose.

6. The defendant shall not possess, ingest, or otherwise use a synthetic cannabinoid, or other synthetic narcotic, unless prescribed by a
licensed medical practitioner and for a legitimate medical purpose.

7. The defendant shall participate in a program of mental health treatment, as directed by the probation office. The defendant shall
contribute to the cost of treatment in accordance with the probation office Copayment Policy.

8. The defendant shall submit his person, property, house, residence, vehicle, papers, electronic communication devices, or office, to a
search, conducted by a United States Probation Officer. Failure to submit to a search may be grounds for revocation of supervised
release. The defendant shall warn any other occupants that the premises may be subject to searches pursuant to this condition. An
officer may conduct a search only when reasonable suspicion exists that the defendant has violated a condition of his supervision
and that the areas to be searched contain evidence of this violation. Any search must be conducted at a reasonable time and ina
reasonable manner.
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AO 245B(Rev. 10/17) Judgment in a Criminal Case
Sheet 5 — Criminal Monetary Penalties
Judgment— Page 6 ___—s of 7

DEFENDANT: SHAWNTAE MAURICE FAIRLEY
CASE NUMBER: I:16cr98LG-JCG-008
CRIMINAL MONETARY PENALTIES

The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

 

Assessment JVTA Assessment* Fine Restitution
TOTALS $ 100.00 $ $ 3,000.00 $
C1 The determination of restitution is deferred until _ . An Amended Judgment in a Criminal Case (AO 245C) will be entered

after such determination.
C) The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

If the defendant makes a partial payment, each pare shall receive an approximately pene payment, unless specified otherwise in
the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(1), all nonfederal victims must be paid
before the United States is paid.

Name of Payee Total Loss** Restitution Ordered Priority or Percentage
TOTALS S$ — 0.00 $ 0.00

Restitution amount ordered pursuant to plea agreement §

The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

¥) The court determined that the defendant does not have the ability to pay interest and it is ordered that:
Wj] the interest requirement is waived forthe fine [J restitution.

(] the interest requirement forthe [] fine QO restitution is modified as follows:

* Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22. .
** Findings for the total amount of losses are required under Chapters 109A, 110, LIOA, and 113A of Title 18 for offenses committed on or
after September 13, 1994, but before April 23, 1996.
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AO 245B(Rew. 10/17) Judgment in a Criminal Case
Sheet 6 —- Schedule of Payments

 

 

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DEFENDANT: SHAWNTAE MAURICE FAIRLEY
CASE NUMBER: | -16¢r98LG-JCG-008

SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as follows:

A  &_ Lump sum payment of $ 3.!00.00 due immediately, balance due

[] _ not later than ,or
CL] inaccordancewith 1] C, (] D, (] E,or C] F below; or

BW Payment to begin immediately (may be combined with OC, YlD,or WF below): or

C () Payment in equal (e.g., weekly, monthly, quarterly) installments of $ _ over a period of
(e.g., months or years), to commence e.g, 30 or 60 days) after the date of this judgment; or
dD Ww Payment in equal monthly (e.g., weekly, monthly, quarterly) installments of $ _ 150.00 over a period of
—_ 60 months fg, months or years), to commence 30 days (e.g, 30 or 60 days) after release from imprisonment to a

term of supervision; or

E  [] Payment during the term of supervised release will commence within _ _ (e.g., 30 or 60 days) after release from

imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

F (4 Special instructions regarding the payment of criminal monetary penalties:

The payment of the fine shall begin while the defendant is incarcerated. In the event that the fine is not paid in full prior to the termination
of supervised release, the defendant is ordered to enter into a written agreement with the Financial Litigation Unit of the U.S. Attorney's
Office for payment of the remaining balance. Additionally, the value of any future discovered assets may be applied to offset the balance of
criminal monetary penalties. The defendant may be included in the Treasury Offset Program allowing qualified federal benefits to be
applied to offset the balance of criminal monetary penalties.

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due during
the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’ Inmate
Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

(1 Joint and Several

Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
and corresponding payee, if appropriate.

[1] The defendant shall pay the cost of prosecution.
The defendant shall pay the following court cost(s):

[J The defendant shall forfeit the defendant’s interest in the following property to the United States:

Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal, (5) fine
interest, (6) community restitution, (7) JVTA assessment, (8) penalties, and (9) costs, including cost of prosecution and court costs.
